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The Benefits of Consenting                                                                     Judge Reona J. Daly
 • Faster case resolution                                                                                  Magistrate Judge Reona J. Daly, a graduate
                                                                                                           of Illinois Wesleyan University and the
 • Firm early trial dates                                                                                  Southern Illinois University School of Law,
 • Avoiding duplication of effort                                                                          has been on the bench since 2016. Prior to
                                                                                                           going on the bench Judge Daly focused her
   associated with the standard                                                                 entire career on civil litigation. She previously worked
   pretrial referral and report &                                                               in Southern Illinois University’s Office of General
   recommendation process                                                                       Counsel, has extensive experience handling insurance

 • Magistrate judges enable the                       Consent to a                              and medical malpractice cases, and was in the Illinois
                                                                                                Attorney General’s Office, assigned to the General Law
   federal courts to manage                           United States                             Bureau.
   increasing caseloads with limited                 Magistrate Judge                          Judge Mark A. Beatty
   resources,       particularly       in                                                                   Magistrate Judge Mark A. Beatty, a graduate
                                            In accordance with 28 U.S.C. § 636(c), a
   situations where there is a              United States magistrate judge of this court
                                                                                                            of the University of Missouri and University
                                                                                                            of Dayton School of Law, joined the court in
   shortage of district judges.             is available to conduct all proceedings in civil                2019. He previously worked as an Assistant
 • The consent process facilitates          actions (including a jury or nonjury trial) and                 State’s Attorney in Madison County, Illinois
                                            to order the entry of a final judgment.            and served as a law clerk to U.S. District Judge G. Patrick
   the      “just,    speedy,        and
                                                                                               Murphy in the Southern District of Illinois. Judge Beatty
   inexpensive determination” of            The judgment may then be appealed
                                                                                               then entered private practice where he focused on civil
                                            directly to the United States Court of
   civil cases. See Fed. R. Civ. P. 1.      Appeals for the Seventh Circuit, like any
                                                                                               litigation and represented businesses of all sizes as well as
                                                                                               individuals at all stages of litigation, including through
                                            judgment issued by a district judge.               trial.
How to Consent                              A magistrate judge may exercise this
Complete and file the Notice And            authority only if all parties voluntarily          Judge Gilbert C. Sison
                                            consent. You may consent to have your case                     Magistrate Judge Gilbert C. Sison, a graduate
Consent To Proceed Before A                 referred to a magistrate judge, or you may                     of Louisiana       State University       and
Magistrate Judge form. If all parties in    withhold your consent without substantive                      Washington University School of Law, joined
                                                                                                           the court in 2019. After law school, he
the case consent, the presiding district    adverse consequences.
                                                                                                           worked in private practice where he focused
judge will issue an order referring the                                                        on complex commercial and class action litigation. Judge
                                                   For more information contact:               Sison also practiced criminal defense for nine years and
case to a magistrate judge. It’s as
                                                    Meg Robertie, Clerk of Court               for the last three years was an Assistant United States
simple, and efficient, as that.                           618-482-9106                         Attorney for the Eastern District of Missouri.
                                                  meg_robertie@ilsd.uscourts.gov
